IN THE UNITED STATES DISTRICT COURT
FOR 'I`HE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
CATHERINE BINHLAM, )
) Case No.
Plaintifi` )
) JURY DEMAND
vs. )
)
ONLINE HEALTH, INC., ffk)'a )
GORDIAN HEALTH SOLUTIONS, )
INC., )
)
Defendant. )

COMPLAINT

Comes the Plaintit`f, Catherine Binhlarn, by and through counsel, and would show
the Coult as follows:

l. Plaintiff Catherine Binhlam is an individual residing within this State.

2. Det`endant Online Health_. Inc. is a corporation incorporated under the laws
of Tennessee and doing business within this State. Until filing amended and restated
formation documents in Januaiy of 201 1, Defendant was registered and doing business
under the name Gordian Health Solutions, lnc. Det`endant may be served through its
registered agent William Young at l Cameron Hill Circle, Chattanooga, TN 37402.

JURISDICTION & VENUE

3. This Court has jurisdiction over this matter pursuant to Title VII of the
Civil Rights Act of 1964, 42 U.S.C. § 2000€ et seq., as amendcd, and the Age
Discrimination in Employment Act of 196?', 29 U.S.C. § 621 er seq., as amended.

4. This Court also has supplemental jurisdiction pursuant to 28 U.S.C. §

Case 3:11-cV-OO719 Document 1 Filed 07/28/11 Page 1 of 10 Page|D #: 1

1367.

5. Venue is proper in that the acts complained oi` occurred within the
confines of the jurisdiction ofthis court.

FACTUAL ALLEGATIONS

6. Plaintii"l" is an Asian who immigrated to the United States from South
Vietnam at the age ot` 14. Accordingly, Plaintit`f is ot` a race and national origin protected
by federal laws prohibiting discrimination

?. During the time period at issue, Plaintift` was above the age of 40, and,
therefore, in an age group protected by federal laws against discrimination

3. Det`endant, which is a subsidiary ot`Blue Cross Blue Shield of Tennessee,
is in the business ot` providing health coaching, health assessments and on site services
pertaining to wellness.

9. Plaintiff was hired by Det`endant on January l, 2007 as a “Participant
Services Specialist.”

lO. As a Participant Services Specialist, Plaintift` was responsible for
answering incoming phone calls, determining the caller’s needs and then transferring the
caller to a health coach tailored to the caller’s needs.

ll. Upon information and belief, Plaintit`t` was the only Asian employed by
Det`endant during the span of her employment with Det`endant.

12. Plaintiff was 46 years old at the time she was hired by Defendant. Upon
information and belief, Plaintit`t` was older than the vast majority of persons in the
Participant Services Department.

13. Del`endant had a policy of promoting from within the Company.

2
Case 3:11-cV-OO719 Document 1 Filed 07/28/11 Page 2 of 10 Page|D #: 2

Typically, employees, who were non-Asian and younger than 40, were promoted quickly
and often.

14. Plaintit`f applied i"or higher paying positions within Defendant, but was
repeatedly rejected Instead, the jobs were given to non-Asian employees under the age
of 40.

15. Det`endant’s Human Resources Depaitment told Plaintiti` that she would
have a better chance at becoming a health coach if she had a nursing degree. Plaintit`f
already had a bachelor’s degree in sales and marketing from the University ot`Texas, San
Antonio. Del"endant promised Plaintiff that Det`endant would reimburse Plaintiff for
tuition and books if she went to nursing school.

16. Consequently, and upon the encouragement of Defendant, Plaintit`f
enrolled in Columbia State Community College’s nursing program and began working
night shifts at Det`endant so that she could attend classes during the day. Plaintii`t` paid for
her tuition and book expenses with the expectation that she would be reimbursed by
Dei"endant.

1?'. During the time period ot` Plaintift"s employment, there were three other
people who were Participant Services Specialists. 'l`he Participant Services Specialists
were supervised by the “Participant Services Supervisor.”

18. For the first three months of her employment, Plaintit`f was supervised by
Mitch Beeson, a white male in his early thirties. Mr. Beeson was promoted by Defendant
and replaced by .lason Henderson, another white male in his early thirties. Shortly
thereai`ter, Mr. Henderson was promoted by Det`endant, thereby leaving a vacancy for

Participant Services Supervisor.

3
Case 3:11-cV-00719 Document 1 Filed 07/28/11 Page 3 of 10 Page|D #: 3

19. Plaintiff applied for the position of Participant Services Supervisor. Even
though Plaintiff was told by Defendant that she was well qualitied, Defendant appointed
Andrea Eaton to the position. Ms. ilaton was a white 32 year old female who had been
employed by Defendant for six months

20. Ms. Eaton, on behalf of Defendant and with Defendant’s approval,
subjected Plaintiff to constant harassment. threats and intimidation For example_. Ms.
Eaton repeatedly criticized Plaintiff s accent and mocked her Asian appearance While
Plaintiff spoke to clients on the phone, Ms. Eatcn cringed, made inappropriate faces,
stuck her fingers in her cars to shut out Plaintiff’s voice and stretched the corners of her
eyes to imitate the facial characteristics of the Asian race.

21. Moreover, even though Ms. Eaton consistently approved the vacation
requests of the other three employees in her department_. she refused to allow Plaintiff a
personal day off.

22. During an evaluation, Ms. Eaton told Plaintiff that she (_Ms. Eaton) was
raised in a small, Midwest town and "‘could not help being racist.""

23. Plaintiff subsequently approached Defendant"s Human Resources
Department regarding her unfair treatment by Ms. Eaton.

24. Chad Shake, Human Rcsources Specialist for Defendant, told Plaintiff that
she had to do what management wanted her to do if she wanted to keep herjob.

25. Del"endant had a progressive disciplinary policy providing that an
employee would receive corrective action warnings before he or she would be
terminated.

26. During her employment with Defendant, Plaintiff never received a

4
Case 3:11-cV-00719 Document 1 Filed 07/28/11 Page 4 of 10 Page|D #: 4

warning under the progressive disciplinary policy.

2?. On, September 12, 2008, Defendant terminated Plaintiff. Ms. Eaton and
Mr. Shake, the Hurnan Resources Specialist_, gave Plaintiff notice of the termination in a
meeting wherein they provided her a Corrective Action Forrn indicating her termination.
A copy of the Con‘ective Action Form is attached hereto as Exhibit 1.

28. The Correction Action Form states that Plaintiff received “opportunities
for training and improvement,” but that Plaintiff"s “pcrformance ha[d] not improved.”
See Exhibit l.

29. In fact, Plaintiff had not previously received opportunities for training and

was never formally trained for her position as a Participant Services Specialist.
30. Just three days prior to Plaintifi"s termination (Scptember 9, 2003), Ms.
Eaton sent Plaintiff an e-mail notifying her that Defendant "‘finally ha[d] the opportunity
to get Plaintiff the training” she needed and that the training was set to begin the
following week and continue over a three-week period. A copy of the e-mail is attached
hereto as Exhibit 2.

31. Moreover, Plaintiff had never received a warning under the progressive
disciplinary policy that her performance must improve.

32. T his lack of warning stood in stark contrast to the treatment of Plaintiff’s
co-workers who, around the same time period, received warnings and were placed on
corrective action plans by Defendant.

33. Plaintiffdid not agree with the statements in the Corrective Action Form
and, therefore, refused to sign it. See Exhibit l.

,`

_)4. Plaintiff was thereafter escorted from the office in a humiliating manner.

5
Case 3:11-cV-00719 Document 1 Filed 07/28/11 Page 5 of 10 Page|D #: 5

35. Defendant’s actions, by and through its employees and agents, constitute
unlawful race discrimination and age discrimination.

36. Plaintiff timely filed a Charge of Discrimination with the Equal
Opportunity Con"irnission (“EEOC”) on May 29, 2009. A copy of the Charge of
Discrimination is attached hereto as 1113th

37. Plaintiff received a Letter of Determination from the EEOC on April 30,
2011, a copy oi` which is attached hereto as Exhibit 4. The Letter states that the EEOC
found reasonable cause to believe that Defendant discriminated against Plaintiff based
upon her race (Asian) and national origin (Vietnamese) and not allowing her the
opportunity of the progressive disciplinary policy. The Letter gave Plaintiff notice of her
right to sue on the remaining grounds in the Charge of Discrimination.

38. Ultimately, the EEOC decided that it would not bring suit on its
determination that Plaintiff had been discriminated against based upon race and national
origin and issued a Notice of Right to Sue on those issues, which Plaintiff received on
July 19, 2011. A copy of the Notice of Right to Sue is attached hereto as Exhibit 5.

39. Plaintiff has suffered damages, and Defendant’s actions, by and through
its employees_._ was the cause of those damages Further, the actions of Defendant in
discriminating against Plaintiff was malicious, intentional and in reckless disregard of
Plaintift"s rights under the law.

40. Plaintiff is entitled to back pay money damages equivalent to the wages
Plaintiff should have received if not for Defendant’s wrongful failure to promote her
through the date of judgment Alternatively, Plaintiff is entitled to lost wages from the

date she was wrongfully terminated until the date of judgment

6
Case 3:11-cV-00719 Document 1 Filed 07/28/11 Page 6 of 10 Page|D #: 6

41. Plaintiff is also entitled to front pay money damages for her future lost
earnings and in lieu ofreinstatetment.

42. Plaintiff is also entitled to recover compensatory damages for the
emotional pain and suffering she experienced at having being harassed, wrongfully
denied a promotion and wrongfully terminated from employment by Defendant.

43. Plaintiff is also entitled to recover the money she spent on tuition and
books in reliance on Defendant’s fraudulent and/or negligent misrepresentations

44. Plaintiff is also entitled to recover punitive damages because Defendant’s
actions against Plaintiff were malicious, intentional and in reckless disregard of
Plaintiff’s rights under the law.

45. Plaintiff is also entitled to recover her reasonable costs, expenses and
attorney fees expended hcrein.

COUNT I: DISCRIMINATION BASED UPON RACE
AND NATIONAL ORIGIN

46. Plaintiffineorporates the proceeding paragraphs as if restated herein.

47. Plaintiff is in a racial and ethnic class protected by federal law.

48. Defendant treated Plaintiff less favorably than its employees who were not
Asian and of Vietnamese origin. Specifically, Defendant, through its employees,
harassed, wrongfully failed to promote_. and wrongfully terminated Plaintiff without
allowing her the opportunity of the progressive disciplinary policy.

49. Defendant intentionally treated Plaintiff unfavorably because of her race
and origin.

50. In doing so, Defendant has violated i`itle Vll of the Civil Rights Act, 42

U.S.C. § 2000e et seq., as amended, prohibiting discrimination in employment

?
Case 3:11-cV-00719 Document 1 Filed 07/28/11 Page 7 of 10 Page|D #: 7

51. As a result, Plaintiff has suffered damages in an amount to be proven at

trial.
COUNT II: AGE DISCRIMINATION
52. Plaintiff incorporates the preceding paragraphs as if restated herein.
53. Plaintiff is over the age of 40 and, therefore, in a class protected by federal
law.

54. Defendant treated Plaintiff less favorably than its younger employees
Specifically, Defendant, through its employees, harassed, wrongfully failed to promote,
and wrongfully terminated Plaintiff without allowing her the opportunity of the
progressive disciplinary policy.

55. Defendant intentionally treated Plaintiff unfavorably because of her age.

56. in doing so, Defendant has violated the Age Discrimination in
Employment Act of 1967, 29 U.S.C. § 62l cr seq., as amended, prohibiting
discrimination in employment

57. As a result, Plaintiffs have suffered damages in an amount to be proven at
trial.

COUNT III: FRAUDULENT MISREPRESENTATION

58. Plaintiff incorporates the preceding paragraphs as if restated herein.

59. Defendant made false representations that it would reimburse Plaintiff for
her tuition and books if she attended nursing school.

60. Defendant made those representations knowing they were untrue or with
reckless disregard for their truth.

61. Plaintiff relied upon Defendant’s representations in applying to nursing

3
Case 3:11-cV-00719 Document 1 Filed 07/28/11 Page 8 of 10 Page|D #: 8

school and paying for the costs of tuition and books.

62. As a result, Plaintiff has been damaged in an amount to be proven at trial.

63. Moreover, Defendant acted intentionally, maliciously and!or recklessly in
making false representations to Plaintiff.

64. Plaintiff is entitled to punitive damages to punish Defendant for its
intentional, malicious andi'or reckless behavior and to deter it from engaging in such
behavior in the futurc.

COUNT lV: NEGLIGENT MISREPRESENTATION

65. Plaintiff incorporates the proceeding paragraphs as though fully set forth
herein.

66. Defendant made false representations that it would reimburse Plaintiff for
her tuition and books if she attended nursing school

67. Defendant did not exercise due care in obtaining or conveying the false
information to Plaintiff.

68. Plaintiff relied upon these representations in applying to nursing school
and in paying for the costs of tuition and books

69. As a resuit, Plaintiff has been damaged in an amount to be proven at trial.
WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAYS:

a) That Defendant be served with a copy of the Surnmons and Complaint and
be required to answer within the time prescribed by law;

b) That Plaintiff be awarded money damages for back pay, front pay_.
compensatory damages and punitive damages for employment discrimination

c) That Plaintiff be awarded compensatory damages and punitive damages

9
Case 3:11-cV-00719 Document 1 Filed 07/28/11 Page 9 of 10 Page|D #: 9

for fraudulent misrepresentation andi‘or negligent misrepresentation

d) 'i`hat Plaintiff be awarded reasonable costs1 expenses and attorneys’ fees
expended herein;

e) That a jury be impaneled to hear this case; and

f`) That Plaintiff be awarded any and all other relief to which she may be

entitled.

Respectfully submitted,

CL_L,M,_

Andrea McKellar
MCKELLAR LAW

201 Fourth Avenue North
Suite 1130

Nashville, TN 37201
(615) 567-5794

(615) 56?-5795
andie@mckellarlaw.com

10
Case 3:11-cv-00719 Document 1 Filed 07/28/11 Page 10 of 10 Page|D #: 10

